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                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

IN RE:                              )                  CHAPTER 11
                                    )
FAITH APOSTOLIC DELIVERANCE         )                  CASE NO. 20-63879-SMS
CHURCH, INC.                        )
                                    )
   DEBTOR.                          )
___________________________________ )


                      UNITED STATES TRUSTEE'S
              RESPONSE TO APPLICATION FOR FINAL DECREE


      COMES NOW Nancy J. Gargula, the United States Trustee for Region 21, in

furtherance of the administrative responsibilities imposed pursuant to 28 U.S.C. 586(a),

and respectfully responds to Debtor’s Application for Final Decree filed in the above-

captioned matter.

                                             1.

      The United States Trustee does not oppose entry of a final decree. Fed. R. Bankr.
P. 3022.
                                          2.
      Debtor must file disbursement reports for all periods during which the case is
open. See F. R. Bankr. P. 2015(a)(5) and BLR 3022-1. Debtor has filed its Quarterly
Operating Report for the period 08/01/2020 through 09/30/2020.
                                          3.
      Debtor must pay quarterly fees through the date of entry of the final decree. See
28 U.S.C. § 1930 and F. R. Bankr. P. 2015(a)(5). Debtor’s quarterly fees are presently
current. The United States Trustee will need monthly or quarterly disbursement figures
to make a final calculation for the current quarter.
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       DATED: November 23, 2020

                                              NANCY J. GARGULA
                                              UNITED STATES TRUSTEE
                                              REGION 21
                                              /s/ Shawna Staton
                                              Shawna Staton, Trial Attorney
                                              Attorney for the United States Trustee
                                              Georgia Bar No. 640220
                                              Office of the United States Trustee
                                              Suite 362, Richard Russell Building
                                              75 Ted Turner Drive, SW
                                              Atlanta, Georgia 30303
                                              (404) 331-4437, ext. 152
                                              Shawna.P.Staton@USDOJ.gov

                               CERTIFICATE OF SERVICE

       This is to certify that on November 23, 2020, I have electronically filed the
foregoing United States Trustee’s Response to Debtor’s Application for Final Decree
using the Bankruptcy Court’s Electronic Case Filing program, which sends a notice of
this document and an accompanying link to this document to the following parties who
have appeared in this case under the Bankruptcy Court’s Electronic Case Filing program:
Ron C. Bingham, II on behalf of Creditor First-Citizens Bank & Trust Company
ron.bingham@arlaw.com, lianna.sarasola@arlaw.com

Leon S. Jones on behalf of Debtor Faith Apostolic Deliverance Church, Inc.
ljones@joneswalden.com,
jwdistribution@joneswalden.com;cparker@joneswalden.com;cmccord@joneswalden.com;lpineyro@jone
swalden.com;arich@joneswalden.com;ewooden@joneswalden.com

Cameron M. McCord on behalf of Debtor Faith Apostolic Deliverance Church, Inc.
cmccord@joneswalden.com,
jwdistribution@joneswalden.com;ljones@joneswalden.com;ahirsch@joneswalden.com;cparker@jonesw
alden.com;lbrown@joneswalden.com;lpineyro@joneswalden.com

Tamara M. Ogier (Sub V Trustee)
tmo@orratl.com, jc@orratl.com;tmo@trustesolutions.net;ctmo11@trustesolutions.net

       DATED: November 23, 2020

                                                      /s/ Shawna Staton
